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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

     In re:                                                  Chapter 11

     THOMAS HEALTH SYSTEM, INC., et al., Case No. 20-20007 (FWV)
                                         (Jointly Administered)
                           1
                  Debtors.


                       FINDINGS OF FACT, CONCLUSIONS OF LAW, AND
                    ORDER GRANTING FINAL APPROVAL OF THE DEBTORS’
                    DISCLOSURE STATEMENT AND CONFIRMING DEBTORS’
                        JOINT CHAPTER 11 PLAN OF REORGANIZATION

           WHEREAS the above captioned debtors and debtors in possession (the “Debtors”),

 having:

               i.   jointly proposed and filed with the United States Bankruptcy Court for the
                    Southern District of West Virginia (the “Court”) (a) the Disclosure Statement for
                    Joint Chapter 11 Plan of Reorganization Dated June 18, 2020 [Dkt. No. 740] and
                    (b) the Debtors’ Joint Chapter 11 Plan of Reorganization Dated June 18, 2020
                    [Dkt. No. 741], which documents were modified to address concerns and certain
                    comments proposed by various parties in interest [Dkt. Nos. 751, 753, 787 and
                    789] and ultimately resulted in the Joint Chapter 11 Plan of Reorganization dated
                    July 7, 2020 (the “Initial Plan”) [Dkt. No. 789], and (ii) the Disclosure Statement
                    For Joint Chapter 11 Plan of Reorganization, dated July 7, 2020 (the “Initial
                    Disclosure Statement”) [Dkt. No. 796]; and,

              ii.   obtained from the Court conditional approval of the Initial Disclosure Statement
                    as containing “adequate information” as defined in section 1125 of title 11 of the
                    United States Code, 11 U.S.C. §§ 101 et seq. (as amended, the “Bankruptcy
                    Code”) and approval of solicitation procedures (the “Solicitation Procedures”),

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  The Debtors in these cases, along with the last four digits of each Debtors’ federal tax identification number, are:
 Thomas Health System, Inc. (0674); Herbert J. Thomas Memorial Hospital Association (4900); Charleston Hospital,
 Inc. (2692); THS Physician Partners, Inc. (5947); and TMH Services, Inc. (6607).
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                  pursuant to this Court’s Order entered on July 8, 2020 [Dkt. No. 795] as modified
                  by this Court’s order entered on August 10, 2020 [Dkt. No. 889] (collectively, the
                  “Disclosure Statement Order”); and,

           iii.   duly transmitted on July 10, 2020, and July 21, 2020, appropriate ballots for
                  voting on the Initial Plan (the “Ballots”) with the balance of the Solicitation
                  Packages in accordance with the Disclosure Statement Order to Holders of Claims
                  in compliance with the Solicitation Procedures, as set forth on the Certificate of
                  Service of Omni Agent Solutions filed on July 30, 2020 [Dkt. No. 854] as
                  supplemented by the Supplemental Certificate of Service of Omni Agent
                  Solutions filed on August 4, 2020 [Dkt. No. 871]; and,

           iv.    published notices of the entry of the Disclosure Statement Order in The Wall
                  Street Journal, The Register-Herald, The Charleston Gazette-Mail, and The
                  Herald-Dispatch on July 14, 2020, as set forth on the Affidavits of Publication of
                  Omni Agent Solutions filed on July 15, 2020 [Dkt. No. 816]; and,

            v.    jointly proposed and filed with the Court (a) the Debtors’ Amended Joint Chapter
                  11 Plan of Reorganization, dated August 3, 2020 [Dkt. No. 861] (the “Plan”),2 and
                  (b) the Disclosure Statement For Amended Joint Chapter 11 Plan of
                  Reorganization, dated August 3, 2020 [Dkt. No. 863] (the “Disclosure
                  Statement”), which documents included enhanced treatment to creditors resulting
                  in the support of both the Bond Trustee and the Creditors Committee; and,

           vi.    secured modifications from the Court of certain deadlines associated with the
                  Confirmation of the Plan, including, without limitation, modifications to the
                  Voting Record Date pursuant to this Court’s Order entered on August 10, 2020
                  [Dkt. No. 889], said order being duly transmitted on August 10, 2020, as set forth
                  on the Certificate of Service of Omni Agent Solutions filed on August 13, 2020
                  [Dkt. No. [___]]; and,

          vii.    duly transmitted on August 3, 2020, the Plan and Disclosure Statement to Holders
                  of Claims in accordance with the extended Solicitation Procedures, as set forth on
                  the Certificate of Service of Omni Agent Solutions filed on August 7, 2020 [Dkt.
                  No. 879] as supplemented by the Supplemental Certificate of Service of Omni
                  Agent Solutions filed on August 11, 2020 [Dkt. No. 901] (collectively, Dkt. Nos.
                  854, 871, 879, 901, and [___], the “Solicitation Affidavits”); and,

         viii.    received ballots voting on the Plan as evidenced by both the Solicitation
                  Affidavits and the Declaration of Paul H. Deutch Regarding Analysis of Ballots
                  for Accepting or Rejecting the Debtors’ Amended Joint Chapter 11 Plan of
                  Reorganization filed with the Court on August [], 2020 [Dkt. No. []] (the “Voting
                  Certification”); and,

 2
  All capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Plan or, where
 applicable, the Disclosure Statement Order.


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         ix.   filed the following documents in support of Confirmation of the Plan: (i) the
               Notice of Filing of Plan Supplement dated August 7, 2020 [Dkt. No. 883] (the
               “Plan Supplement”); (ii) the Supplemental Notice to Counterparties to the
               Debtors’ Executory Contracts and Unexpired Leases of Assumption [Dkt. No.
               888] (the “Assumption Notice”); (iii) the Debtors’ Memorandum of Law in
               Support of Final Approval of the Debtors’ Disclosure Statement for Joint Chapter
               11 Plan of Reorganization, Confirmation of the Debtors’ Joint Plan of
               Reorganization, Approval of Plan Settlements Pursuant to Fed. R. Bankr. P. 9019
               [and Omnibus Reply to Plan Confirmation Objections] [Dkt. No. []] (the
               “Memorandum in Support”); (iv) the Declaration of Daniel J. Lauffer in Support
               of Confirmation of Amended Joint Chapter 11 Plan of Reorganization [Dkt. No.
               []] (the “Lauffer Declaration”); and,

          x.   participated in a hearing held by this Court on final approval of the Disclosure
               Statement and Confirmation of the Plan on August 14, 2020 (the “Confirmation
               Hearing”), with the limited objections thereto and any remaining objections having
               been resolved, overruled, or withdrawn prior to or during the Confirmation Hearing;
               and,

         xi.   presented the arguments of counsel and introduced evidence at the Confirmation
               Hearing that supports a finding by the Court that the Plan should be confirmed as
               set forth herein and based on the rulings at the Confirmation Hearing.

        NOW, THEREFORE, the Court having found that notice of the Confirmation Hearing

 and the opportunity for any party in interest to object to Confirmation have been adequate and

 appropriate as to all parties affected or to be affected by the Plan and the transactions

 contemplated thereby; and the record of the Chapter 11 Cases and the legal and factual bases set

 forth in the documents filed in support of Confirmation and presented at the Confirmation

 Hearing including, without limitation, the Lauffer Declaration, the Voting Certification, and

 [INSERT ADDITIONAL DOCUMENTS], establish just cause for the relief granted in the

 Confirmation Order; and after due deliberation thereon and good cause appearing therefor, the

 Court hereby makes and issues the following findings of fact, conclusions of law, and order:




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                I.      FINDINGS OF FACT AND CONCLUSIONS OF LAW

        IT IS HEREBY FOUND AND DETERMINED THAT:

        A.     Findings and Conclusions. The findings and conclusions set forth herein and in the

 record of the Confirmation Hearing constitute the Court’s findings of fact and conclusions of law

 pursuant to Rule 52 of the Federal Rules of Civil Procedure, as made applicable herein by Rules

 7052 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). To the

 extent any of the following findings of fact constitute conclusions of law, they are adopted as

 such. To the extent any of the following conclusions of law constitute findings of fact, they are

 adopted as such.

        B.     Jurisdiction, Venue, Core Proceeding (28 U.S.C. §§ 157(b)(2), 1334(a)). The Court

 has jurisdiction over the Debtors’ Chapter 11 Cases pursuant to 28 U.S.C. § 1334. Approval of

 the Disclosure Statement and Confirmation of the Plan are core proceedings pursuant to 28

 U.S.C. § 157(b) and this Court has jurisdiction to enter a final order with respect thereto. The

 Debtors are eligible debtors under section 109 of the Bankruptcy Code. Venue is proper before

 this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The Debtors are proper plan proponents in

 accordance with section 1121(a) of the Bankruptcy Code.

        C.     Chapter 11 Petitions. On January 10, 2020 (the “Petition Date”), Debtors Thomas

 Health System, Inc., Herbert J. Thomas Memorial Hospital Association, Charleston Hospital,

 Inc., and THS Physician Partners, Inc. filed voluntary petitions for relief under chapter 11 of title

 11 of the Bankruptcy Code. The Chapter 11 Cases are jointly administered under bankruptcy

 case number 20-20007 pursuant to Bankruptcy Rule 1015(b). On May 22, 2020, TMH Services,

 Inc. also filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. TMH

 Services’ bankruptcy case is being jointly administered with the Chapter 11 Cases. The Debtors



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 are authorized to continue to operate their businesses and manage their properties as debtors in

 possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

 examiner has been appointed pursuant to section 1104 of the Bankruptcy Code.

        D.      Judicial Notice. The Court takes judicial notice of the docket of the Chapter 11

 Cases maintained by the Clerk of the Court, including all pleadings and other documents filed,

 all orders entered, and all evidence and arguments made, proffered, or adduced at the hearings

 held before the Court during the pendency of the Chapter 11 Cases and any related adversary

 proceedings.

        E.      Statutory Committee of Unsecured Creditors. On January 29, 2020, the Office of

 the United States Trustee appointed the Creditors' Committee in these Chapter 11 Cases.

        F.      The Compromises and Settlements Embodied in the Plan are Fair, Reasonable, and

 in the Best Interest of the Debtors' Estates. The Plan is the result of good faith, arm's length

 negotiations among the Debtors and other parties in interest including, the Bond Trustee (acting

 in consultation with and at the direction of certain Bondholders), the Debtors' other secured

 lenders, the Creditors’ Committee, the PBGC, Rosemawr Management, as purchaser of the

 Series 2020 Bonds, and various holders of Tort Claims. The Plan constitutes a good faith, arm's

 length compromise and settlement of all Claims or controversies relating to the rights that a

 Holder of a Claim may have with respect to any Allowed Claim or any Distribution to be made

 or obligation to be incurred pursuant to the Plan and the Plan Supplement. Such compromises or

 settlements, including the Global 9019 Settlement, the PBGC Settlement (as defined herein), and

 other settlements set forth in the Plan or in this Confirmation Order (i) are in the best interests of

 (x) the Debtors and their Estates and (y) all Holders of Claims, including Holders of the Series

 2008 Bonds and (ii) are fair, equitable, and reasonable.



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        G.     Adequacy of the Disclosure Statement. The Disclosure Statement contained

 extensive material information regarding the Debtors so that parties entitled to vote on the

 Plan, including Holders of the Series 2008 Bonds, could make informed decisions regarding

 the Plan. Additionally, the Disclosure Statement contains adequate information as that term is

 defined in section 1125(a) of the Bankruptcy Code and complies with any additional

 requirements of the Bankruptcy Code, the Bankruptcy Rules, and applicable non-bankruptcy

 law.

        H.     Disclosure Statement Order Compliance. The Debtors have complied with the

 Disclosure Statement Order in all material respects.

        I.     Burden of Proof. To the extent applicable, the Debtors have the burden of proving

 the elements of sections 1129(a) and (b) of the Bankruptcy Code by a preponderance of the

 evidence. Each Debtor has met such burden.

        J.     Modifications to the Plan. Pursuant to section 1127 of the Bankruptcy Code, the

 modifications to the Plan described or set forth in this Confirmation Order and the Plan filed on

 August 3, 2020, constitute technical changes, changes with respect to particular Claims by

 agreement with Holders of such Claims, or modifications that do not otherwise materially and

 adversely affect or change the treatment of any other Claim or interest. The modifications

 enhanced creditor treatment and reflected an exercise of the Debtors’ sound business judgment.

 These modifications are consistent with the disclosures previously made pursuant to the Initial

 Disclosure Statement and solicitation materials served pursuant to the Disclosure Statement

 Order, and notice of these modifications was adequate and appropriate under the facts and

 circumstances of the Chapter 11 Cases.       In accordance with Bankruptcy Rule 3019, these

 modifications do not require additional disclosure under section 1125 of the Bankruptcy Code or



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 the resolicitation of votes under section 1126 of the Bankruptcy Code, and they do not require

 that Holders of Claims be afforded an opportunity to change previously cast acceptances or

 rejections of the Plan. Accordingly, the Plan, as modified, is properly before this Court and all

 valid votes cast with respect to the Plan prior to such modification shall be binding and shall

 apply with respect to the Plan.

        K.     Voting. As evidenced by the Voting Certification, votes to accept or reject the Plan

 have been solicited and tabulated fairly, in good faith, and in a manner consistent with the

 Bankruptcy Code, the Bankruptcy Rules, the Local Rules for the United States Bankruptcy Court

 for the Southern District of West Virginia (the “Local Rules”), applicable nonbankruptcy law,

 and the Disclosure Statement Order.

        L.     Solicitation. The Plan, the Disclosure Statement, the Ballots, and notice of the

 Confirmation Hearing, were transmitted and served in compliance with the Bankruptcy Rules,

 including Bankruptcy Rules 3017 and 3018, the Local Rules, and the Disclosure Statement

 Order. The forms of the Ballots adequately addressed the particular needs of these Chapter 11

 Cases and were appropriate for Holders of Claims in the following Classes (the “Voting

 Classes”) who are impaired under the Plan, may receive a distribution under the Plan, and,

 therefore, had their votes solicited: Class 1 (Series 2008 Secured Bond Claims), Class 4

 (Convenience Claims) and Class 5 (General Unsecured Claims). The period during which the

 Debtors solicited acceptances to the Plan was reasonable under the circumstances of these

 Chapter 11 Cases and enabled Holders of Claims to make an informed decision to accept or

 reject the Plan. The Debtors were not required to solicit votes from the Holders of Claims in the

 following Classes (the “Deemed Accepting Classes”) as each such Class is unimpaired under the

 Plan and conclusively presumed to have accepted the Plan: Class 2 (Other Secured Claims) and



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 Class 3 (Other Priority Claims). As described in, and as evidenced by, inter alia, the Solicitation

 Affidavits and the Voting Certification, the transmittal and service of the (i) Plan, (ii) Disclosure

 Statement, (iii) Disclosure Statement Order (excluding exhibits thereto), (iv) the Confirmation

 Hearing Notice, (v) for Holders of Claims in Voting Classes, a Ballot, and (vi) for Holders of

 Claims in classes not entitled to vote to accept or reject the Plan, a Notice of Non-Voting Status

 (all of the foregoing, the “Solicitation”) was timely, adequate, and sufficient under the

 circumstances. The Solicitation of votes on the Plan was conducted in good faith, complied with

 the Solicitation Procedures and the Disclosure Statement Order, was appropriate and satisfactory

 based upon the circumstances of the Chapter 11 Cases, and was in compliance with the

 provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules, and any other

 applicable rules, laws, and regulations.

        M.     Bankruptcy Rule 3016. The Plan and all modifications thereto are dated and

 identify the Entities submitting them, thereby satisfying Bankruptcy Rule 3016(a). The Debtors

 appropriately filed the Disclosure Statement and the Plan with the Court, thereby satisfying

 Bankruptcy Rule 3016(b). The injunction, release, and exculpation provisions in the Disclosure

 Statement and the Plan describe, in bold font and with specific and conspicuous language, all

 acts to be enjoined, identify the entities and persons that are released and exculpated under the

 Plan and identify the entities and persons that will be subject to the injunction, thereby satisfying

 Bankruptcy Rule 3016(c).

        N.     Notice. As is evidenced by the Voting Certification, the Solicitation Affidavits,

 and the proofs of publication, service of the Disclosure Statement Order, the Plan, the Disclosure

 Statement, the Confirmation Hearing Notice and the Ballots was adequate and sufficient under

 the circumstances, and all parties required to be given notice of the Confirmation Hearing



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 including Bondholders (including the deadline for filing and serving objections to Confirmation

 of the Plan) have been given due, proper, timely, and adequate notice in accordance with the

 Disclosure Statement Order and in compliance with the Bankruptcy Code, the Bankruptcy Rules,

 the Local Rules, and applicable nonbankruptcy law, and such parties have had an opportunity to

 appear and be heard with respect thereto. No other or further notice is required.

         Compliance with the Requirements of Section 1129 of the Bankruptcy Code

        O.     Plan Compliance with the Bankruptcy Code (11 U.S.C. § 1129(a)(1)). The Plan

 complies with the applicable provisions of the Bankruptcy Code and, as required by Bankruptcy

 Rule 3016, the Plan is dated and identifies the Debtors as proponents, thereby satisfying section

 1129(a)(1) of the Bankruptcy Code.

                1.    Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). In addition to
        Administrative Claims and Priority Tax Claims, which need not be classified, Article III
        of the Plan classifies five Classes of Claims for the Debtors. The Claims placed in each
        Class are substantially similar to other Claims, as the case may be, in each such Class.
        Valid business, factual, and legal reasons exist for separately classifying the various
        Classes of Claims created under the Plan, and such Classes do not unfairly discriminate
        between Holders of Claims. The Plan therefore satisfies sections 1122 and 1123(a)(1) of
        the Bankruptcy Code.

                 2.    Specified Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Pursuant to Article
        III of the Plan, the following Classes are unimpaired under the Plan within the meaning
        of section 1124 of the Bankruptcy Code, thereby satisfying section 1123(a)(2) of the
        Bankruptcy Code: Class 2 (Other Secured Claims) and Class 3 (Other Priority Claims).

                3.    Specified Treatment of Impaired Classes (11 U.S.C. § 1123(a)(3)). Section
        3 of the Plan designates the following Classes as impaired within the meaning of section
        1124 of the Bankruptcy Code and specifies the treatment of the Claims in those Classes,
        thereby satisfying section 1123(a)(3) of the Bankruptcy Code: Class 1 (Series 2008
        Secured Bond Claims), Class 4 (Convenience Claims), and Class 5 (General Unsecured
        Claims).

               4.     Same Treatment for Each Claim or Interest of Each Particular Class (11
        U.S.C. § 1123(a)(4)). The Plan provides for the same treatment by the Debtors for each
        Claim in each respective Class unless the Holder of a particular Claim has agreed to a
        less favorable treatment of such Claim, thereby satisfying section 1123(a)(4) of the
        Bankruptcy Code.


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              5.     Implementation of the Plan (11 U.S.C. § 1123(a)(5)). The Plan provides
       adequate and proper means for the implementation of the Plan, thereby satisfying section
       1123(a)(5) of the Bankruptcy Code. Specifically, the Plan will be funded from the
       proceeds of the Series 2020 Bonds, other available cash and funds of the Debtors, and
       from the continued operation of the Debtors’ businesses.

               6.    Non-Voting Equity Securities/Allocation of Voting Power (11 U.S.C.
       § 1123(a)(6)). The Debtors, other than TMH Services, are non-stock corporate entities
       and such Reorganized Debtors shall continue to exist on and after the Effective Date as
       separate non-stock corporate entities with all the powers of non-stock corporations, which
       renders section 1123(a)(6) inapplicable to such Reorganized Debtors. TMH Services’
       organizational documents will prohibit the issuance of non-voting equity securities and
       therefore complies with section 1123(a)(6).

               7.     Designation of Directors and Officers (11 U.S.C. § 1123(a)(7)). The Plan
       identifies the officers and directors of the Debtors who will serve after the Effective Date.
       The selection of the officers and directors is consistent with the interests of creditors and
       public policy, thereby satisfying section 1123(a)(7) of the Bankruptcy Code.

              8.     Impairment/Unimpairment of Classes of Claims and Interests (11 U.S.C. §
       1123(b)(1)). As permitted by section 1123(b)(1) of the Bankruptcy Code, Article III of
       the Plan designates all impaired and unimpaired Classes.

              9.     Assumption and Rejection (11 U.S.C. § 1123(b)(2)). Article V of the Plan
       governs the assumption and rejection of executory contracts and unexpired leases and
       meets the requirements of section 365(b) of the Bankruptcy Code.

               10. Settlement of Claims.         Consistent with section 1123(b)(3) of the
       Bankruptcy Code, the Plan provided for the implementation of the Global 9019
       Settlement which, among other things, provides for the settlement, compromise and
       treatment of the Series 2008 Bond Claims as specified in the Plan and for the release and
       exculpation of (a) each of the Debtors; (B) each of the Reorganized Debtors; (c) the
       Foundation (solely with respect to claims of the Bond Trustee and/or the holders of Series
       2008 Bond Claims); (d) the Bond Trustee and Bondholders; (e) the Creditors Committee
       and its members; (f) with respect to each of the foregoing clauses (a) through (e), such
       Entity’s financial advisors, partners, attorneys, accountants, investment bankers,
       consultants, representatives, and other professionals, each in their capacity as such; and
       (g) solely with respect to claims of the Bond Trustee, Bondholders and Creditors
       Committee, the Debtors’ employees, officers, directors, and board members.

              11. Additional Plan Provisions (11 U.S.C. § 1123(b)(6)). Each of the
       provisions of the Plan is appropriate and consistent with the applicable provisions of the
       Bankruptcy Code.




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                12. Cure of Defaults (11 U.S.C. § 1123(d)). Article V of the Plan provides for
        the satisfaction of default claims associated with each Executory Contract and Unexpired
        Lease to be assumed pursuant to the Plan in accordance with section 365(b)(1) of the
        Bankruptcy Code. All cure amounts will be determined in accordance with the
        underlying agreements and applicable bankruptcy and nonbankruptcy laws. If there are
        any objections filed that cannot otherwise be resolved consensually among the relevant
        parties, the Court shall hold a hearing to adjudicate the dispute. Accordingly, the Plan
        complies with section 1123(d) of the Bankruptcy Code.

        P.       The Debtors’ Compliance with the Bankruptcy Code (11 U.S.C. § 1129(a)(2)).

 The Debtors have complied with the applicable provisions of the Bankruptcy Code as required

 by Section 1129(a)(2) of the Bankruptcy Code, including, as applicable, Sections 1122, 1123,

 1124, 1125, 1126, 1128, and 1129, and with Bankruptcy Rules 2002, 3017, 3018, and 3019.

 Specifically:

              1.    Each of the Debtors is an eligible debtor under section 109 of the
        Bankruptcy Code;

               2.    The Debtors have complied with applicable provisions of the Bankruptcy
        Code, except as otherwise provided or permitted by orders of the Court; and

               3.     The Debtors have complied with the applicable provisions of the
        Bankruptcy Code, including sections 1125 and 1126(b), the Bankruptcy Rules, the Local
        Rules, applicable nonbankruptcy law, the Disclosure Statement Order, and all other
        applicable law, in transmitting the Plan, the Disclosure Statement, the Ballots, and related
        documents and notices and in soliciting and tabulating the votes on the Plan.

        Q.       Plan Proposed in Good Faith (11 U.S.C. § 1129(a)(3)). The Plan (including all

 documents necessary to effectuate the Plan) has been proposed in good faith and not by any

 means forbidden by law, thereby satisfying section 1129(a)(3) of the Bankruptcy Code. Such

 good faith is evident from the facts and record of the Chapter 11 Cases, the Disclosure

 Statement, the Lauffer Declaration, the Voting Certification and the record of the Confirmation

 Hearing and other proceedings held in the Chapter 11 Cases. The Debtors proposed the Plan after

 many months of analysis and negotiations involving numerous proposals with the legitimate and

 honest purpose of maximizing the value of the Debtors’ Estates, effectuating a successful


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 reorganization of the Debtors, and advancing the Debtors’ mission. The Debtors and key

 interested parties developed the Plan (including all documents necessary to effectuate the Plan)

 and negotiated in good faith and at arms’-length among representatives of the Debtors, the Bond

 Trustee, the Creditors Committee, Rosemawr Management, as purchaser of the Series 2020

 Bonds, and other significant creditors in the Chapter 11 Cases. Further, the Plan’s classification,

 indemnification, exculpation, release, and injunction provisions have been negotiated in good

 faith and at arms’-length, are consistent with sections 105, 1122, 1123(b)(6), 1123(b)(3)(A),

 1129, and 1142 of the Bankruptcy Code and applicable case law in the Fourth Circuit, and are

 each necessary for the consummation of the Plan. All obligations of the Reorganized Debtors

 arising under or connected to the Series 2020 Bonds (including any mortgages, liens, guarantees

 and security instruments or documents) are and are hereby deemed to be in exchange for fair and

 reasonably equivalent value and do not and are hereby deemed not to constitute a fraudulent

 transfer or fraudulent conveyance under applicable federal or state laws and shall not subject the

 holders of the Series 2020 Bonds to any liability by reason of incurrence of such obligation or

 grant of such liens, guarantees or security interests under applicable federal or state law,

 including, but not limited to, successor or transferee liability.

        R.     Payment for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)). Any

 payment made or to be made by the Debtors for services or for costs and expenses in connection

 with the Chapter 11 Cases, or in connection with the Plan and incident to the Chapter 11 Cases,

 has been approved by, or is subject to the approval of, the Court as reasonable, thereby satisfying

 section 1129(a)(4) of the Bankruptcy Code.




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           S.   Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). The Debtors have

 complied with section 1129(a)(5) of the Bankruptcy Code. The identity and affiliations of the

 persons proposed to serve as officers and directors of the Debtors after Confirmation of the Plan

 have been fully disclosed to the extent such information is available, and the appointment of such

 persons is consistent with the interests of Holders of Claims against the Debtors and with public

 policy.

           T.   No Rate Changes (11 U.S.C. § 1129(a)(6)). The Plan does not provide for any

 changes in rates established or approved by, or otherwise subject to, any governmental

 regulatory commission. Thus, section 1129(a)(6) of the Bankruptcy Code is satisfied.

           U.   Best Interest of Creditors (11 U.S.C. § 1129(a)(7)). The Plan satisfies section

 1129(a)(7) of the Bankruptcy Code. All of the Impaired Classes have voted to accept the Plan.

 As set forth in the Voting Certification, Classes 1, 4 and 5 have voted to accept the Plan.

 Accordingly, all Impaired Classes have voted to accept the Plan and the requirements of section

 1129(a)(7) of the Bankruptcy Code have been satisfied.

           V.   Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). All impaired Classes

 have accepted the Plan. All the remaining Classes are unimpaired under the Plan and therefore

 are deemed to have accepted the Plan. Accordingly, all Classes under the Plan have either

 accepted the Plan, or are deemed to have accepted the Plan and the requirements of section

 1129(a)(8) of the Bankruptcy Code have been satisfied.

           W.   Treatment of Administrative Claims and Priority Claims (11 U.S.C. § 1129(a)(9)).

 The treatment of Allowed Administrative Claims under Article II of the Plan satisfies the

 requirements of section 1129(a)(9)(A) of the Bankruptcy Code. The treatment of Other Priority

 Claims pursuant to Article III(D)(3) of the Plan satisfies the requirements of section



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 1129(a)(9)(B) of the Bankruptcy Code. The treatment of Priority Tax Claims pursuant to Article

 II of the Plan satisfies the requirements of section 1129(a)(9)(C) of the Bankruptcy Code.

          X.    Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)). Holders of Claims in the

 Voting Classes voted to accept the Plan, determined without including any acceptance of the

 Plan by any insider, thereby satisfying the requirements of section 1129(a)(10) of the Bankruptcy

 Code.

          Y.    Feasibility (11 U.S.C. § 1129(a)(11)). Confirmation of the Plan is not likely to be

 followed by the liquidation or the need for further financial reorganization of the Reorganized

 Debtors. As a result, the requirement of section 1129(a)(11) of the Bankruptcy Code is satisfied

          Z.    Payment of Fees (11 U.S.C. § 1129(a)(12)). The Plan provides that the Debtors

 shall pay all fees payable pursuant to section 1930 of title 28 of the United States Code as they

 become due and owing, thereby satisfying section 1129(a)(12) of the Bankruptcy Code.

          AA. Continuation of Retiree Benefits (11 U.S.C. § 1129(a)(13). As the Plan does not

 seek to modify health and welfare retiree benefits, the Plan satisfies section 1129(a)(13).

 Nothing herein shall impair or otherwise contradict the agreement, as set forth in Article IV(U)

 of the Plan, between the Debtors and the PBGC relating to the terms and conditions of the

 termination of the TMH Pension Plan and settlement of the claims arising therefrom.

          BB.   No Domestic Support Obligations (11 U.S.C. § 1129(a)(14)). The Debtors are not

 required by a judicial or administrative order, or by statute, to pay a domestic support obligation.

 Accordingly, section 1129(a)(14) of the Bankruptcy Code is inapplicable to the Chapter 11

 Cases.




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          CC.   Debtors Are Not Individuals (11 U.S.C. § 1129(a)(15)). The Debtors are not

 individuals, and accordingly, section 1129(a)(15) of the Bankruptcy Code is inapplicable to the

 Chapter 11 Cases.

          DD. Compliance Nonbankruptcy Law Regarding Transfers (11 U.S.C. § 1129(a)(16)).

 Debtors Thomas Health System, Inc., Herbert J. Thomas Memorial Hospital Association,

 Charleston Hospital, Inc., and THS Physician Partners, Inc., are each a nonstock, not-for-profit

 corporation duly incorporated under the laws of the State of West Virginia. To the extent

 applicable, all transfers under the Plan are in accordance with applicable nonbankruptcy law that

 govern the transfer of property by a corporation or trust that is not a moneyed, business, or

 commercial corporation or trust. TMH Services, Inc., is a moneyed, business, or commercial

 corporation, and, accordingly, section 1129(a)(16) of the Bankruptcy Code is inapplicable to its

 Chapter 11 Case.

          EE.   Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only plan filed in these

 cases, and accordingly, section 1129(c) of the Bankruptcy Code is inapplicable in the Chapter 11

 Cases.

          FF.   Principal Purpose of the Plan (11 U.S.C. § 1129(d)). The principal purpose of the

 Plan is not the avoidance of taxes or the avoidance of the application of section 5 of the

 Securities Act, and no governmental entity has objected to the Confirmation of the Plan on any

 such grounds. Therefore, the Plan satisfies the requirements of section 1129(d) of the Bankruptcy

 Code.

          GG. Not Small Business Cases (11 U.S.C. § 1129(e)). The Chapter 11 Cases are not

 small business cases, and accordingly, Section 1129(e) of the Bankruptcy Code does not apply to

 the Chapter 11 Cases.



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        HH. Good Faith Solicitation (11 U.S.C. § 1125(e)). Based on the record before the

 Court, the Lauffer Declaration and the record of the Chapter 11 Cases, the Debtors, the Bond

 Trustee, the Creditors Committee and their respective current members, officers, directors,

 agents, subsidiaries, affiliates, general and limited partners, financial advisors, investment

 bankers,     restructuring   consultants,   independent    accountants,    attorneys,    employees,

 representatives, and other professionals retained by such persons, to the extent applicable, (i)

 have acted in “good faith” within the meaning of section 1125(e) of the Bankruptcy Code in

 compliance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the

 Local Rules and any applicable non-bankruptcy law, rule, or regulation governing the adequacy

 of disclosure in connection with all their respective activities relating to the solicitation of

 acceptances to the Plan and their participation in the activities described in section 1125 of the

 Bankruptcy Code, and (ii) shall be deemed to have participated in good faith and in compliance

 with the applicable provisions of the Bankruptcy Code in the offer and issuance of any securities

 under the Plan, and therefore are not, and on account of such offer, issuance and solicitation will

 not be, liable at any time for the violation of any applicable law, rule, or regulation governing the

 solicitation of acceptances or rejections of the Plan or the offer and issuance of the securities

 under the Plan, and are entitled to the protections afforded by section 1125(e) of the Bankruptcy

 Code and, to the extent such parties are listed therein, the release provisions set forth in Article

 VIII of the Plan.

        II.     Implementation. All documents necessary to implement the Plan, and all other

 relevant and necessary documents have been developed and negotiated in good faith and at

 arms’-length and shall, upon completion of documentation and execution, and subject to the




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 occurrence of the Effective Date, be valid, binding, and enforceable agreements and not be in

 conflict with any federal or state law.

        JJ.    Conditions to Effective Date. The Plan shall not become effective unless and until

 the conditions set forth in Article IX of the Plan have been satisfied or waived pursuant to the

 Plan. Consistent with the announcements made at the Confirmation Hearing, Article III(A) of

 the Plan is hereby amended to extend the targeted Effective Date to occur on or before

 September 30, 2020 in order to consummate the funding transactions set forth in the Plan.

        KK. Vesting of Assets. Except as otherwise provided in the Plan, in this Confirmation

 Order, or any agreement, instrument or other document incorporated herein, on the Effective

 Date and with respect to the Bond Trustee, based on the treatment of the Series 2008 Bond

 Claims specified in the Plan and upon receipt by the Bond Trustee of the Cash to be distributed

 to or retained by it (including the Indenture Funds) on the Effective Date pursuant to the Plan, or

 as soon as practicable thereafter, all property of the Debtors’ Estates (including the Segregated

 GUC Account and the GUC Distribution therein) and all Causes of Action shall vest in the

 Reorganized Debtors, free and clear of all Liens, Claims, charges or other encumbrances (except

 for Liens securing the Series 2020 Note or Other Secured Claims; provided, however, that no

 Liens securing the Series 2020 Note or Other Secured Claims shall attach to the Segregated GUC

 Account or the GUC Distribution therein). On and after the Effective Date, except as otherwise

 provided in the Plan, the Reorganized Debtors may operate their business and may use, acquire

 or dispose of property and compromise or settle any Claims or Causes of Action without

 supervision or approval by the Court and free of any restrictions of the Bankruptcy Code or

 Bankruptcy Rules; provided, however, that the GUC Distribution is available exclusively for the




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 distribution to Holders of Allowed Class 5 General Unsecured Claims pursuant to the terms set

 forth in Article III(D)(5) of the Plan.

        LL.     Exemptions from Recording, Stamp, and Similar Taxes (11 U.S.C. § 1146(a)). The

 Bankruptcy Court finds and concludes that, in accordance with section 1146(a) of the

 Bankruptcy Code, any transfers from a Debtor to a Reorganized Debtor or any other Person or

 Entity pursuant to the Plan, including in relation to the Series 2020 Bonds, shall not be subject to

 any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax,

 real estate transfer tax, mortgage recording tax, or other similar tax or governmental assessment.

        MM. Releases. The Court has jurisdiction under sections 1334(a) and (b) of title 28 of

 the United States Code to approve the releases set forth in Article VIII and elsewhere in the Plan,

 and in this Confirmation Order. Section 105(a) of the Bankruptcy Code permits approval of the

 releases set forth in Article VIII and elsewhere in the Plan, and in this Confirmation Order,

 because, as has been established here based upon the record in the Chapter 11 Cases and the

 evidence presented in the Lauffer Declaration and at the Confirmation Hearing, such provisions

 (i) were integral to the agreement among the various parties in interest and are essential to the

 formulation and implementation of the Plan, as provided in section 1123 of the Bankruptcy

 Code, (ii) confer substantial benefits on the Debtors’ Estates, (iii) are fair, equitable, and

 reasonable, and (iv) are in the best interests of the Debtors, their Estates, and parties in interest.

 Pursuant to section 1123(b)(3) of the Bankruptcy Code and Bankruptcy Rule 9019(a), the

 releases set forth in the Plan and implemented by this Confirmation Order are fair, equitable,

 reasonable, and in the best interests of the Debtors, their Estates, and all creditors and parties in

 interest, including Bondholders. The releases of non-Debtors under the Plan, including releases

 of the Bond Trustee and Creditors Committee, are fair to Holders of Claims and interests,



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 including Bondholders, and are necessary to the Plan. Such releases are given in exchange for

 and are supported by fair, sufficient, and adequate consideration provided by each and all of the

 parties providing such releases. The Lauffer Declaration and the record of the Confirmation

 Hearing and these Chapter 11 Cases are sufficient to support the releases provided for in Article

 VIII of the Plan.     Accordingly, based upon the record of the Chapter 11 Cases, the

 representations of the parties, and/or the evidence proffered, adduced, and/or presented in the

 Lauffer Declaration and at the Confirmation Hearing, this Court finds that the releases set forth

 in Article VIII of the Plan are consistent with the Bankruptcy Code and applicable law.

        NN. Objections. All parties have had a full and fair opportunity to litigate all issues

 raised in the objections to Confirmation of the Plan, or which might have been raised, and the

 objections have been fully and fairly litigated or resolved, including by provisions set forth in

 this Confirmation Order.

        OO. Based on the foregoing, the Plan satisfies the requirements for Confirmation set

 forth in section 1129 of the Bankruptcy Code.

                                             ORDER

        BASED ON THE FOREGOING FINDINGS OF FACT AND CONCLUSIONS OF

 LAW, IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED THAT:

        1.     Findings of Fact and Conclusions of Law.           The findings of fact and the

 conclusions of law set forth in this Confirmation Order constitute findings of fact and

 conclusions of law in accordance with Bankruptcy Rule 7052, made applicable to this

 proceeding by Bankruptcy Rule 9014. All findings of fact and conclusions of law announced by

 the Court at the Confirmation Hearing in relation to Confirmation, are hereby incorporated into

 this Confirmation Order. To the extent that any of the following constitutes findings of fact or



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 conclusions of law, they are adopted as such. To the extent any finding of fact or conclusion of

 law set forth in this Confirmation Order (including any findings of fact or conclusions of law

 announced by the Court at the Confirmation Hearing and incorporated herein) constitutes an

 order of this Court, it is adopted as such.

        2.      Notice of the Confirmation Hearing.        Notice of the Confirmation Hearing

 complied with the terms of the Disclosure Statement Order, was appropriate and satisfactory

 based upon the circumstances of the Chapter 11 Cases, and was in compliance with the

 provisions of the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

        3.      Solicitation. The solicitation of votes on the Plan complied with the Solicitation

 Procedures, was appropriate and satisfactory based upon the circumstances of the Chapter 11

 Cases, and was in compliance with the provisions of the Bankruptcy Code, the Bankruptcy

 Rules, the Local Rules, and applicable nonbankruptcy law.

        4.      Ballots. The forms of Ballots are in compliance with Bankruptcy Rule 3018(c)

 and conform to Official Form Number 14, and are approved in all respects.

        5.      Plan Classification Controlling. The terms of the Plan shall solely govern the

 classification of Claims for purposes of the distributions to be made thereunder and the

 classifications set forth on the ballots tendered to or returned by the Holders of Claims in

 connection with voting on the Plan: (a) were set forth thereon solely for purposes of voting to

 accept or reject the Plan; (b) do not necessarily represent, and in no event shall be deemed to

 modify or otherwise affect, the actual classification of Claims under the Plan for distribution

 purposes; (c) may not be relied upon by any Holder of a Claim as representing the actual

 classification of such Claim under the Plan for distribution purposes; and (d) shall not be binding

 on the Debtors except for voting purposes.



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           6.   Confirmation of the Plan. The Plan and each of its provisions shall be, and hereby

 are, approved and confirmed under section 1129 of the Bankruptcy Code. The terms of the Plan,

 including the Plan Supplement, are incorporated by reference into, and are an integral part of this

 Confirmation Order. The targeted Effective Date shall be on or before September 30, 2020.

           7.   Final Approval of Disclosure Statement. The Disclosure Statement contains

 extensive adequate information as that term is defined in section 1125(a) of the Bankruptcy

 Code and complies with any additional requirements of the Bankruptcy Code, the Bankruptcy

 Rules, and applicable non-bankruptcy law, and is therefore approved on a final basis. To the

 extent that any objections (including any reservations of rights contained therein) to final

 approval of the Disclosure Statement have not been withdrawn, waived, or settled before entry of

 this Confirmation Order, all such objections (including any reservation of rights contained

 therein) are hereby overruled in their entirety and on their merits.

           8.   Objections Resolved or Overruled. To the extent that any objections (including

 any reservations of rights contained therein) to Confirmation have not been withdrawn, waived,

 or settled before entry of this Confirmation Order, are not cured by the relief granted in this

 Confirmation Order, or have not been otherwise resolved as stated on the record of the

 Confirmation Hearing, or on the terms of this Confirmation Order, all such objections (including

 any reservation of rights contained therein) are hereby overruled in their entirety and on their

 merits.

           9.   Binding Effect. On the date of and following entry of this Confirmation Order and

 subject to the occurrence of the Effective Date, the provisions of the Plan shall bind the Debtors,

 all Holders of Claims of the Debtors including Bondholders (irrespective of whether such Claims

 are impaired under the Plan or whether the Holders of such Claims have accepted the Plan), any



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 and all non-Debtor parties to Executory Contracts and Unexpired Leases with any of the

 Debtors, any other party in interest in the Chapter 11 Cases, and the respective heirs, executors,

 administrators, successors, or assigns, if any, of any of the foregoing.

        10.     Vesting of Assets. Except as otherwise provided in this Confirmation Order, the

 Plan or any agreement, instrument or other document incorporated herein, on the Effective Date

 and with respect to the Bond Trustee, upon receipt by the Bond Trustee of the Cash to be

 distributed to it on the Effective Date pursuant to the Plan, or as soon as practicable thereafter, all

 property of the Debtors’ Estates (including the Segregated GUC Account and GUC Distribution

 therein) and all Causes of Action shall vest in the Reorganized Debtors, free and clear of all

 Liens, Claims, charges or other encumbrances (except for Liens securing the Series 2020 Note or

 Other Secured Claims; provided, however, that no Liens securing the Series 2020 Note or Other

 Secured Claims shall attach to the Segregated GUC Account or the GUC Distribution therein).

 On and after the Effective Date, except as otherwise provided in the Plan, the Reorganized

 Debtors may operate their business and may use, acquire or dispose of property and compromise

 or settle any Claims or Causes of Action without supervision or approval by the Court and free

 of any restrictions of the Bankruptcy Code or Bankruptcy Rules; provided, however, that the

 GUC Distribution is available exclusively for the distribution to Holders of Allowed Class 5

 General Unsecured Claims pursuant to the terms set forth in Article III(D)(5) of the Plan.

        11.     Retained Claims. In accordance with section 1123(b) of the Bankruptcy Code,

 except as specifically provided in the Plan, the Retained Claims shall vest in the Reorganized

 Debtors on the Effective Date and the Reorganized Debtors shall be solely responsible for the

 continuation of any litigation or negotiation related thereto. Except to the extent expressly

 released under the Plan, nothing in these Chapter 11 Cases shall impact the Reorganized



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 Debtors’ ability to continue litigation related to the Retained Claims nor shall such retention be

 construed as granting a Creditor or Person with any right that is inconsistent with the other terms

 of the Plan. To the extent the Debtors are entitled to assert a claim or exercise a right to Relief

 Funds, such rights are expressly preserved. No Person shall rely on the absence of a specific

 reference in the Plan, the Plan Supplement, the Disclosure Statement, or this Confirmation Order

 to any Retained Claim against it as any indication that the Reorganized Debtors will not pursue

 any and all available Retained Claims. The Debtors have expressly reserved in favor of the

 Reorganized Debtors all rights to prosecute any and all Retained Claims against any Person,

 except as otherwise expressly provided in the Plan. Unless any Retained Claims against a Person

 are expressly waived, relinquished, exculpated, released, compromised, or settled in the Plan or a

 Court order, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

 issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall

 apply to Retained Claims upon, after, or as a consequence of Confirmation or consummation of

 this Plan.

         12.    Reservation of Rights. Except as specifically provided herein or in the Plan,

 nothing contained in the Plan or this Confirmation Order shall be deemed to be a waiver or

 relinquishment of any claim, Cause of Action, right of setoff, or other legal or equitable defense

 that the Debtors had immediately prior to the Petition Date, against or with respect to any Claim

 left unimpaired by the Plan.      The Debtors reserve and shall retain the Causes of Action

 notwithstanding the rejection or repudiation of any Executory Contract or Unexpired Lease

 during the Chapter 11 Cases or pursuant to the Plan. In accordance with section 1123(b)(3) of

 the Bankruptcy Code, any Causes of Action that a Debtor may hold against any Person shall vest

 in the Debtors. Except as otherwise set forth in the Plan, the Debtors shall retain, reserve, and



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 shall have the exclusive right, authority and discretion to assert all such claims, Causes of

 Action, rights of setoff, or other legal or equitable defenses which they or any of them had

 immediately prior to the Petition Date fully as if the Chapter 11 Cases had not been commenced,

 and all legal and equitable rights of any Debtor respecting any Claim left unimpaired by the Plan

 may be asserted after the Confirmation Date to the same extent as if the Chapter 11 Cases had

 not been commenced, and to initiate, file, prosecute, enforce, abandon, settle, compromise,

 release, withdraw, or litigate to judgment any such Causes of Action relating to any Claim left

 unimpaired by the Plan and to decline to do any of the foregoing relating to any Claim left

 unimpaired by the Plan without the consent or approval of any third party or further notice to or

 action, order, or approval of the Court.

        13.     Implementation of the Plan; Restructuring Transactions. On the Effective Date or

 as soon as reasonably practicable thereafter, the Debtors and the Reorganized Debtors shall be,

 and hereby are, authorized, without the need for further notices, approvals or meetings of the

 Debtors’ Board of Directors, to take all actions as may be necessary or appropriate to effect the

 restructuring transactions and any transaction described in, approved by, contemplated by or

 necessary to effectuate the Plan, including: (a) the execution and delivery of appropriate

 agreements or other documents of merger, consolidation, restructuring, conversion, disposition,

 transfer, dissolution or liquidation containing terms that are consistent with the terms of the Plan

 and that satisfy the applicable requirements of applicable law and any other terms to which the

 applicable Persons may agree; (b) the execution and delivery of appropriate instruments of

 transfer, assignment, assumption or delegation of any asset, property, right, liability, debt or

 obligation on terms consistent with the terms of the Plan and having other terms for which the

 applicable Persons agree; (c) the filing of appropriate certificates or articles of incorporation or



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 amendments thereof, reincorporation, merger, consolidation, conversion or dissolution pursuant

 to applicable state law; (d) the execution, delivery and performance of any and all Series 2020

 Bond Documents and all other documents necessary or appropriate to effectuate the issuance of

 the Series 2020 Bonds, including without limitation the execution, delivery and recording of

 documents or instruments with respect to the granting of liens, security interests, mortgages,

 deeds of trust, or other security, and any other documents or instruments contemplated by the

 Series 2020 Bonds; and (e) all other actions that the applicable Persons and/or Reorganized

 Debtors determine to be necessary or appropriate, including making filings or recordings that

 may be required by applicable law.

        14.     Cancellation of Instruments. Except as otherwise provided in the Plan or this

 Confirmation Order, on the Effective Date, the Series 2008 Bonds shall be cancelled, and the

 Series 2008 Bonds and 2008 Bond Documents shall continue in effect solely to the extent they

 relate to and are necessary to (i) allow distributions pursuant to the Plan, (ii) permit the Bond

 Trustee to be compensated for fees and reimbursed for expenses including expenses of its

 professionals, assert its charging lien, enforce its indemnity and other rights and protections with

 respect to and pursuant to the 2008 Bond Documents; provided, however, that the Bond Trustee

 shall not be compensated or reimbursed from, assert any liens against, or enforce its indemnity or

 any other rights and protections against the Segregated GUC Account or the GUC Distribution

 therein, (iii) permit the Bond Trustee to set one or more record dates and distributions dates with

 respect to the distribution of funds to beneficial owners of the Series 2008 Bonds, (iv) permit the

 Bond Trustee to appear in the Chapter 11 Cases and exercise the rights specified in the Plan, and

 (v) permit the Bond Trustee to perform any functions that are necessary in connection with the

 foregoing clauses (i) through (iv). For the avoidance of doubt, on the Effective Date, and subject



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 to the disbursement to the Bond Trustee of the Cash payment on account of the Series 2008

 Secured Bond Claims described in the Plan, the Bond Trustee shall release all of its Liens on the

 Bond Collateral.

        15.     Compromise of Controversies. Subject only to the occurrence of the Effective

 Date, the Global 9019 Settlement set forth in the Plan shall be and hereby is approved. Pursuant

 to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the

 classification, distributions, releases, and other benefits provided under the Plan, upon the

 Effective Date, the provisions of the Plan, including the releases set forth in Article VIII thereof,

 shall constitute a good faith compromise and settlement of all Claims and controversies resolved

 pursuant to the Plan including, without limitation, the Global 9019 Settlement, the PBGC

 Settlement (as defined herein), and other settlements set forth in the Plan and this Confirmation

 Order. All distributions made to Holders of Allowed Claims in any Class are intended to be and

 shall be final. If the Effective Date does not occur, and as specified in the Plan, the settlements

 set forth in the Plan, including the Global 9019 Settlement, shall be deemed to have been

 withdrawn without prejudice to the respective positions of the parties and all rights of the

 Debtors, the Creditors Committee (including the right to continue the Challenge Litigation and

 object to any motion filed by the Bond Trustee for allowance of claims under Bankruptcy Rule

 3018(a)), and the Bond Trustee (including rights to make an 1111(b) election) shall be preserved.

        16.     Assumption of Executory Contracts and Unexpired Leases.              The provisions

 governing the treatment of Executory Contracts and Unexpired Leases set forth in Article V of

 the Plan (including the procedures regarding the resolution of any and all disputes concerning the

 assumption or rejection, as applicable, of such Executory Contracts and Unexpired Leases) shall

 be, and hereby are, approved in their entirety. Except as otherwise provided in this Confirmation



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 Order or the Plan, on the Effective Date, all Executory Contracts and Unexpired Leases of the

 Debtors shall be deemed rejected by the Debtors in accordance with sections 365(a) and

 1123(b)(2) of the Bankruptcy Code, except for those Executory Contracts and Unexpired Leases

 that: (i) have been assumed or rejected by the Debtors by prior order of the Court; (ii) previously

 expired or terminated pursuant to its own terms or by agreement of the parties thereto; (iii) are

 the subject of a motion to assume filed by the Debtors pending on the Effective Date; (iv) are

 identified by the Debtors for assumption in the Plan Supplement, which may be amended by the

 Debtors to add or remove Executory Contracts and Unexpired Leases prior to the Effective Date;

 or (v) are assumed by the Debtors pursuant to the terms of the Plan.            The entry of this

 Confirmation Order constitutes the entry of an appropriate order approving the assumptions or

 rejections, as applicable, of such Executory Contracts or Unexpired Leases, pursuant to sections

 365(a) and 1123(b)(2) of the Bankruptcy Code. Unless otherwise specified in the Plan or the

 Plan Supplement, each Executory Contract and Unexpired Lease listed or to be listed thereon

 shall include any and all modifications, amendments, supplements, restatements and other

 agreements made directly or indirectly by any agreement, instrument or other document that in

 any manner affects such Executory Contract or Unexpired Lease, without regard to whether such

 agreement, instrument or other document is listed thereon.

        17.     Cure Claims.    Unless a party to an Executory Contract or Unexpired Lease

 objected to the cure amounts identified in the Plan Supplement and any amendments thereto, as

 applicable, the Debtors shall pay such cure amounts in accordance with the terms of the Plan and

 the assumption of any Executory Contract or Unexpired Lease, pursuant to the Plan or otherwise,

 shall result in the full release and satisfaction of any Claims or defaults, whether monetary or

 nonmonetary, including defaults of provisions restricting the change in control or ownership



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 interest composition or other bankruptcy-related defaults, arising under any assumed Executory

 Contract or Unexpired Lease at any time before the date that the Debtors assume such Executory

 Contract or Unexpired Lease.

        18.    Rejection of Executory Contracts and Unexpired Leases; Rejection Damage

 Claims. The entry of this Confirmation Order constitutes the entry of an appropriate order

 authorizing the Debtors to reject, effective as of the Effective Date, any Executory Contract or

 Unexpired Lease that the Debtors have not identified for assumption in the Plan Supplement. All

 Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts

 or Unexpired Leases, pursuant to the Plan or the Confirmation Order, if any, must be filed

 with the Court within twenty-one (21) days after the Effective Date; provided, however, that

 to the extent any Executory Contract or Unexpired Lease is rejected pursuant to a Final Order,

 any Proof of Claim with respect to Claims arising from the rejection of an Executory Contract or

 Unexpired Lease authorized by such Final Order must be filed with the Court within twenty-one

 (21) days of the entry of the Final Order approving such rejection. Any Claims arising from

 the rejection of an Executory Contract or Unexpired Lease not filed with the Court within

 such time will be automatically disallowed, forever barred from assertion, and shall not be

 enforceable against the Debtors, the Reorganized Debtors, the Estates, or their property,

 without the need for any objection by the Debtors or Reorganized Debtors, or further

 notice to, action, order, or approval of the Court or any other Entity, and any Claim

 arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed

 fully satisfied, released, and discharged, and be subject to the permanent injunction set

 forth in Article VIII of the Plan, notwithstanding anything in a Proof of Claim to the

 contrary. All timely filed Claims arising from the rejection by any Debtor of any Executory



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 Contract or Unexpired Lease pursuant to section 365 of the Bankruptcy Code shall be treated as

 a General Unsecured Claim pursuant to Article III of the Plan and may be objected to in

 accordance with the provisions of Article VII of the Plan and the applicable provisions of the

 Bankruptcy Code and Bankruptcy Rules.

        19.     Bar Date for Administrative Claims.         PROOFS OF ADMINISTRATIVE

 CLAIMS AND REQUESTS FOR PAYMENT OF ADMINISTRATIVE CLAIMS MUST

 BE FILED AND SERVED NO LATER THAN THIRTY (30) DAYS AFTER THE

 EFFECTIVE DATE. Notwithstanding anything to the contrary in this Confirmation Order or

 the Plan, no proof of Administrative Claim or application for payment of an Administrative

 Claim need be filed for the allowance of any: (i) Administrative Claims held by trade vendors or

 others, which administrative liability was incurred by the Debtors in the ordinary course of

 business of the Debtors and such creditors after the Petition Date, subject, however, to the right

 of the Debtors to object to such Claims in the event of a bona fide dispute; (ii) Professional Fee

 Claims; or (iii) Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28

 of the United States Code. All Claims described in clauses (i) and (iii) of the immediately

 preceding sentence shall be paid by the Debtors in the ordinary course of business. Any Persons

 that fail to File a proof of Administrative Claim or request for payment thereof on or

 before the Administrative Claim Bar Date shall be forever barred from asserting such

 Claim against any of the Debtors, the Estates, or their property, and the Holder thereof

 shall be enjoined from commencing or continuing any action, employment of process or act

 to collect, offset or recover such Administrative Claim.




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        20.     Professional Compensation. All final requests for payment of Professional Fee

 Claims for services rendered and reimbursement of expenses incurred prior to the Effective Date

 must be filed by the date that is not later than forty-five (45) days after the Effective Date,

 absent an extension granted by the Court. The Court shall determine the Allowed amounts of

 such Professional Fee Claims after notice and a hearing in accordance with the procedures

 established by the Bankruptcy Code, Bankruptcy Rules, and prior Court orders. The Reorganized

 Debtors shall pay the amount of the Allowed Professional Fee Claims owing to the Professionals

 in Cash to such Professionals when such Professional Fee Claims are Allowed by entry of an

 order of the Court, unless otherwise agreed upon by and between such Professional and the

 Debtors or Reorganized Debtors.

        21.     Post-Effective Date Retention of Professionals. Upon the Effective Date, any

 requirement that Professionals comply with Bankruptcy Code sections 327 through 331 and 1103

 in seeking retention or compensation for services rendered after such date shall terminate, and

 the Reorganized Debtors may employ and pay any professional for services rendered or expenses

 incurred after the Effective Date in the ordinary course of business without any further notice to

 any party or action, order or approval of the Court, including any payment of reasonable fees and

 expenses of the Committee Professionals in accordance with Article IV(S) of the Plan.

        22.     Releases by the Debtors, Reorganized Debtors, their Affiliates and their Estates.

 Pursuant to section 1123(b) of the Bankruptcy Code and except as otherwise specifically

 provided in the Plan, the Plan Supplement, or this Confirmation Order, for good and valuable

 consideration, including the service of the Debtor Released Parties to facilitate the expeditious

 reorganization of the Debtors and the implementation of the restructuring contemplated by the

 Plan, the adequacy of which is hereby confirmed, and to the fullest extent permitted by



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 applicable law, in exchange for their cooperation, on and after the Effective Date, the Debtor

 Released Parties are hereby released and discharged by the Debtors, the Reorganized Debtor(s),

 their Affiliates and the Estates from any and all claims, obligations, rights, suits, damages,

 Causes of Action, remedies and liabilities whatsoever, including any derivative claims asserted

 or assertable on behalf of the Debtors, whether known or unknown, foreseen or unforeseen,

 existing or hereinafter arising, in law, equity or otherwise, that the Debtors, the Reorganized

 Debtor(s), the Estates or their Affiliates would have been legally entitled to assert in their own

 right (whether individually or collectively) or on behalf of the Holder of any Claim or other

 Person or Entity, based on or relating to, or in any manner arising from, in whole or in part, the

 Debtors, the Series 2008 Bonds, the Debtors’ Chapter 11 Cases, the subject matter of, or the

 transactions or events giving rise to, any Claim that is treated in the Plan, the business or

 contractual arrangements between any Debtor and any Debtor Released Party, the restructuring,

 sale, or refinancing efforts of the Debtors, the restructuring of Claims before or during the

 Debtors’ Chapter 11 Cases, the negotiation, formulation or preparation of the Plan, the

 Disclosure Statement, any Plan Supplement or related agreements, instruments or other

 documents (collectively, the “Debtor Released Claims”). For the avoidance of doubt, the Debtor

 Released Claims shall not operate to waive, release, or otherwise impair: (i) any Causes of

 Action arising from willful misconduct, actual fraud or gross negligence of such applicable

 Debtor Released Party as determined by a Final Order of the Court or any other court of

 competent jurisdiction; or (ii) the rights of such Debtors or the Reorganized Debtors to enforce

 the Plan and the contracts, instruments, releases, indentures, and other agreements or documents

 delivered under or in connection with the Plan or assumed pursuant to the Plan or assumed

 pursuant to Final Order of the Bankruptcy Court. For the avoidance of doubt, the releases



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 described herein are an integral component of the Global 9019 Settlement as they relate to the

 Bond Trustee, the Bondholders and the Creditors Committee and shall, on the Effective Date,

 provide a full release of any claim, Cause of Action or challenge, including, but not limited to

 claims relating to the Series 2008 Bonds or 2008 Bond Documents including all matters

 asserted in the Challenge Litigation.

        23.     Releases by Holders of Claims. As of the Effective Date and except as set

forth in the Plan, the Plan Supplement, or this Confirmation Order, each Holder of a Claim

shall be deemed to have conclusively, absolutely, unconditionally, irrevocably and forever,

released and discharged the Released Parties from any and all Claims, obligations, rights,

suits, damages, Causes of Action, remedies and liabilities whatsoever, including, but not

limited to any derivative Claims assertable on behalf of a Debtor, whether known or

unknown, foreseen or unforeseen, existing or hereafter arising, in law, equity or otherwise,

that such Person or Entity would have been legally entitled to assert (whether individually

or collectively), based on or relating to, or in any manner arising from, in whole or in part,

the Debtors, the Series 2008 Bonds, the Debtors’ restructuring sale, financing, and/or

refinancing efforts, the Debtors’ Chapter 11 Cases, the Reorganized Debtor(s) or the Issuer,

the subject matter of, or the transactions or events giving rise to, any Claim that is treated

in the Plan, the business or contractual arrangements between any Debtor and any Released

Party, the restructuring of Claims before or during the Chapter 11 Cases, the negotiation,

formulation or preparation of the Plan, the Disclosure Statement, any Plan Supplement or

related agreements, instruments or other documents (collectively, “Released Claims”);

provided, however, that except as otherwise expressly provided, the Plan shall not release

the Debtors, the Reorganized Debtor(s) and the Released Parties from any Cause of Action



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held by a Governmental Unit existing as of the Effective Date based on (i) the Internal

Revenue Code of 1986, as amended, or other domestic state, city, or municipal tax code, (ii)

the environmental laws of the United States or any domestic state, city, or municipality, (iii)

any criminal laws of the United States or any domestic state, city, or municipality, (iv) the

Securities and Exchange Act of 1934 (as now in effect or hereafter amended), the Securities

Act of 1933 (as now in effect or hereafter amended), or other securities laws of the United

States or any domestic state, city or municipality, or (v) ERISA, nor shall the Plan release

the Debtors or Reorganized Debtors from any obligation to perform their obligations

herein.

          24.   PBGC Release. As of the Effective Date, to the maximum extent permitted by

applicable law, other than the Allowed Claims of the PBGC delineated in Section U of

Article IV of the Plan, which shall be paid in strict accordance with the Plan by only the

Reorganized Debtors, and the Termination Premiums delineated in Section U of Article IV

of the Plan, which shall be paid by only the Reorganized Debtors, (i) the Foundation and the

Debtors for which the Plan is confirmed, and the Estates for any Debtors for which the Plan

is confirmed, and (ii) solely in their capacity as acting by, through, or in any way on behalf

of the entity listed in the immediately foregoing clause, the Debtors’ and Foundations’

professionals, employees, officers, directors, board members, attorneys, and financial

advisors as well as the Released Parties, for good and valuable consideration, shall be

deemed to be absolutely, unconditionally, and irrevocably released and forever discharged

by PBGC and the TMH Pension Plan from any Causes of Action based on or relating to any

PBGC plan termination and any Claims arising therefrom. For the avoidance of doubt, the

Reorganized Debtors are not discharged, released or exculpated from the Termination



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Premiums stated in Section U of Article IV of the Plan, which such Termination Premiums

shall not be paid from the GUC Distribution. Notwithstanding the foregoing, or any

provision in the Plan, Disclosure Statement or Confirmation Order, or any other document

filed in the Debtors’ Chapter 11 Cases, including but not limited to the discharge, releases,

exculpations, settlements and injunctions set forth in Article VIII of the Plan, nothing shall

be construed to release, discharge or exculpate any individual or entity from fiduciary

breach related to the TMH Pension Plan or enjoin or prevent the TMH Pension Plan or

PBGC from collecting any such liability from a liable individual or entity, which such

collection of any such liability, for the avoidance of doubt, shall not be paid from the GUC

Distribution.

        25.     Release of Liens. Except as otherwise provided in this Confirmation Order, the

Plan, including but not limited to, Other Secured Claims that are Reinstated pursuant to the Plan,

obligations pursuant to Executory Contracts and Unexpired Leases assumed pursuant to the Plan,

and the Series 2020 Bonds, or in any contract, instrument, release or other agreement or document

created pursuant to the Plan, on the Effective Date and concurrently with the applicable

distributions made pursuant to the Plan and, in the case of a Secured Claim, satisfaction in full of

the portion of the Secured Claim that is Allowed as of the Effective Date, all mortgages, deeds of

trust, Liens, pledges or other security interests against any property of the Estates shall be fully

released and discharged, and all of the right, title and interest of any holder of such mortgages,

deeds of trust, Liens, pledges or other security interests shall revert to the Reorganized Debtor(s)

and its or their successors and assigns. For the avoidance of doubt, except as otherwise provided

in the Plan, including Article III(D) of the Plan, all mortgages, deeds of trust, Liens, pledges or

other security interests against any property of the Estates shall be fully released and discharged



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on the Effective Date without any further action of any party, including, but not limited to, further

order of the Court or filing updated schedules or statements typically filed pursuant to the

Uniform Commercial Code.

        26.     Exculpation.     Effective as of the Effective Date, to the fullest extent

permissible under applicable law, except as otherwise specifically provided in the Plan or this

Confirmation Order, no Exculpated Party shall have or incur, and each Exculpated Party is

released and exculpated from any Cause of Action for any claim related to any act or

omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the filing of

the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,

administration, implementation, or filing of, as applicable, the Disclosure Statement, the

Plan, the Plan Supplement, or any restructuring transaction, contract, instrument, release,

or other agreement or document created or entered into in connection with any of the

foregoing, the pursuit of Confirmation, the pursuit of Consummation, the administration

and implementation of the Plan, or the distribution of property under the Plan or any other

related agreement (including, for the avoidance of doubt, providing any legal opinion

requested by any Entity regarding any transaction, contract, instrument, document, or

other agreement contemplated by the Plan or the reliance by any Exculpated Party on the

Plan or this Confirmation Order in lieu of such legal opinion), except for claims related to

any act or omission that is determined in a Final Order of a court of competent jurisdiction

to have constituted actual fraud, willful misconduct, or gross negligence. Notwithstanding

anything to the contrary herein the Exculpated Parties shall, in all respects, be entitled to

reasonably rely upon the advice of counsel with respect to their duties and responsibilities

pursuant to the Plan. The Exculpated Parties have, and upon completion of the Plan shall be



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deemed to have, participated in good faith and in compliance with the applicable laws with

regard to the solicitation of votes and distribution of consideration pursuant to the Plan and,

therefore, are not, and on account of such distributions shall not be, liable at any time for

the violation of any applicable law, rule, or regulation governing the solicitation of

acceptances or rejections of the Plan or such distributions made pursuant to the Plan. With

respect to any Exculpated Party that is not also an Estate fiduciary, such exculpation shall

be provided for by section 1125(e) of the Bankruptcy Code.

         27.   INJUNCTION.        FROM      AND     AFTER      THE     EFFECTIVE       DATE,

PURSUANT TO SECTION 524(a) OF THE BANKRUPTCY CODE, TO THE FULLEST

EXTENT PERMISSIBLE UNDER APPLICABLE LAW, AND EXCEPT AS OTHERWISE

EXPRESSLY PROVIDED IN THE PLAN, FOR OBLIGATIONS ISSUED OR REQUIRED

TO BE PAID PURSUANT TO THE PLAN, OR THIS CONFIRMATION ORDER, ALL

PERSONS AND ENTITIES THAT HAVE, HOLD, OR MAY HOLD CLAIMS THAT

HAVE BEEN RELEASED, DISCHARGED, OR ARE SUBJECT TO THE EXCULPATION

RESTRICTIONS BELOW ARE PERMANENTLY ENJOINED, FROM AND AFTER THE

EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS AGAINST

THE RELEASED PARTIES:

       i.      FROM AND AFTER THE EFFECTIVE DATE, ALL PERSONS ARE
               PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN
               ANY MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE
               RELEASED PURSUANT TO THE PLAN OR THE CONFIRMATION ORDER.

      ii.      FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF THE
               RELEASES AND EXCULPATION GRANTED IN THE PLAN, THE
               RELEASING PARTIES SHALL BE PERMANENTLY ENJOINED FROM
               COMMENCING OR CONTINUING IN ANY MANNER AGAINST THE
               RELEASED PARTIES AND THEIR ASSETS AND PROPERTIES, AS THE
               CASE MAY BE, ANY SUIT, ACTION OR OTHER PROCEEDING, ON
               ACCOUNT OF OR RESPECTING ANY CLAIM, DEMAND, LIABILITY,


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             OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, INTEREST OR
             REMEDY RELEASED OR TO BE RELEASED PURSUANT TO THE PLAN.

    iii.     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN, THE
             PLAN SUPPLEMENT, THE CONFIRMATION ORDER OR RELATED
             DOCUMENTS, OR FOR OBLIGATIONS ISSUED PURSUANT TO THE
             PLAN, ALL PERSONS AND ENTITIES WHO HAVE HELD, HOLD OR MAY
             HOLD CLAIMS THAT HAVE BEEN RELEASED, DISCHARGED, OR ARE
             SUBJECT TO EXCULPATION, ARE PERMANENTLY ENJOINED, FROM
             AND AFTER THE EFFECTIVE DATE, FROM TAKING ANY OF THE
             FOLLOWING ACTIONS: (1) COMMENCING OR CONTINUING IN ANY
             MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON
             ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
             SUCH CLAIMS; (2) ENFORCING, ATTACHING, COLLECTING OR
             RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT,
             AWARD, DECREE OR ORDER AGAINST THE RELEASED PARTIES ON
             ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
             SUCH CLAIMS; (3) CREATING, PERFECTING OR ENFORCING ANY
             ENCUMBRANCE OF ANY KIND AGAINST THE RELEASED PARTIES OR
             THEIR ASSETS OR PROPERTY ON ACCOUNT OF OR IN CONNECTION
             WITH OR WITH RESPECT TO ANY SUCH CLAIMS; AND (4)
             COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR
             OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN
             CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS
             RELEASED, SETTLED OR DISCHARGED PURSUANT TO THE PLAN.

     iv.     THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF ALL
             CLAIMS HEREIN SHALL BE IN EXCHANGE FOR AND IN COMPLETE
             SATISFACTION OF ALL CLAIMS OF ANY NATURE WHATSOEVER,
             INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM AND
             AFTER THE PETITION DATE, AGAINST THE RELEASED PARTIES OR
             ANY OF THEIR ASSETS OR PROPERTY. ON THE EFFECTIVE DATE,
             ALL SUCH CLAIMS AGAINST THE RELEASED PARTIES SHALL BE
             FULLY RELEASED AND DISCHARGED (EXCEPT AS OTHERWISE
             EXPRESSLY PROVIDED IN THE PLAN).

     v.      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR IN THE PLAN,
             THE CONFIRMATION ORDER, OR IN OBLIGATIONS ISSUED PURSUANT
             HERETO FROM AND AFTER THE EFFECTIVE DATE, ALL CLAIMS
             AGAINST THE RELEASED PARTIES SHALL BE FULLY RELEASED AND
             DISCHARGED AND THE RELEASED PARTIES’ LIABILITY WITH
             RESPECT THERETO SHALL BE EXTINGUISHED COMPLETELY,
             INCLUDING ANY LIABILITY OF THE KIND SPECIFIED UNDER SECTION
             502(G) OF THE BANKRUPTCY CODE.




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      vi.         ALL PERSONS SHALL BE PRECLUDED FROM ASSERTING AGAINST
                  THE RELEASED PARTIES, THEIR REPRESENTATIVES, AND EACH OF
                  THEIR RESPECTIVE SUCCESSORS AND ASSIGNS, AND EACH OF
                  THEIR ASSETS AND PROPERTIES, ANY OTHER CLAIMS BASED UPON
                  ANY DOCUMENTS, INSTRUMENTS OR ANY ACT OR OMISSION,
                  TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR NATURE
                  THAT OCCURRED BEFORE THE EFFECTIVE DATE.

     vii.         FOR THE AVOIDANCE OF DOUBT, NOTHING HEREIN SHALL IMPAIR
                  THE RIGHTS OF ANY HOLDER OF A CLAIM FROM SEEKING TO
                  ENFORCE PERFORMANCE BY THE DEBTORS OR REORGANIZED
                  DEBTORS OF THEIR OBLIGATIONS UNDER THE PLAN.

    viii.         UNTIL SUCH TIME THAT THE COVID-19 OUTBREAK IS NO LONGER
                  CHARACTERIZED BY THE WORLD HEALTH ORGANIZATION AS A
                  PANDEMIC, ALL PARTIES-IN-INTEREST, PERSONS, ENTITIES,
                  AGENCIES, BOARDS, BUREAUS, DEPARTMENTS, AUTHORITIES,
                  COMPANIES,    AND   CORPORATIONS,    INCLUDING,   WITHOUT
                  LIMITATION, THE WEST VIRGINIA HEALTH CARE AUTHORITY, THE
                  WEST VIRGINIA HOSPITAL FINANCE AUTHORITY, THE DEPARTMENT
                  OF REVENUE, AND THE INTERNAL REVENUE SERVICE, SHALL BE
                  REQUIRED TO COOPERATE WITH THE DEBTORS AND/OR
                  REORGANIZED     DEBTORS    IN    FURTHERANCE     OF    THE
                  IMPLEMENTATION OF THE PLAN WHERE PUBLIC GATHERINGS ARE
                  REQUIRED SO THAT MEETINGS, PUBLIC HEARINGS, OR OTHER TYPES
                  OF PUBLIC GATHERINGS CAN BE CONDUCTED BY TELEPHONE,
                  VIDEO, TELECONFERENCE, OR OTHER REASONABLE VIRTUAL
                  COMMUNICATIVE MEANS, UNLESS OTHERWISE WAIVED.

            28.   Binding Release Provision.     All release provisions embodied in the Plan,

 including but not limited to those contained in Article VIII of the Plan, are approved and shall be

 effective and binding on all persons and entities, to the extent provided in the Plan and herein.

 Notwithstanding the foregoing or any other provisions of this Confirmation Order or the Plan, to

 the extent that any creditor of a Debtor and a Debtor are parties to a post-petition agreement

 containing one or more release provisions, which agreement was previously approved by the

 Court, the release provision(s) in any such agreement as well as the agreement itself shall not be

 modified by virtue of the release provisions embodied in the Plan or this Confirmation Order.




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         29.    Injunctions and Automatic Stay. Unless otherwise provided in the Plan or this

 Confirmation Order, all injunctions or stays in effect in the Chapter 11 Cases pursuant to sections

 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and extant on the

 Confirmation Date (excluding any injunctions or stays contained in the Plan or this Confirmation

 Order) shall remain in full force and effect until the Effective Date. All injunctions or stays

 contained in the Plan or this Confirmation Order shall remain in full force and effect in

 accordance with their terms.

         30.    Board of Directors/Officers. On the Effective Date, the members of the boards of

 directors and officers of the Reorganized Debtors shall be the individuals identified in the Plan

 and/or at the Confirmation Hearing. All persons acting as directors, managers, and officers of the

 Debtors that have not been selected as the directors and officers of the Reorganized Debtors

 shall, on the Effective Date, be deemed to have resigned, their appointments shall be rescinded

 for all purposes, and their respective authority and power, in their capacities as such, shall be

 revoked, in each case, without the necessity of taking any further action in connection therewith.

         31.    Plan Distributions. The provisions governing Distributions set forth in Article VI

 of the Plan shall be, and hereby are, approved in their entirety. The Debtors are authorized to

 make all Distributions pursuant to the terms of the Plan and to pay any other applicable fees and

 expenses in connection therewith approved by this Confirmation Order or any other Order of this

 Court

         32.    Objections to Claims. The procedures for resolving Claims set forth in Article

 VII of the Plan shall be, and hereby are, approved in their entirety. The Claims objection process

 set forth in Article VII(A)(2) of the Plan shall not be altered, amended or modified without the

 prior written consent of the Creditors Committee. For the avoidance of doubt, any Proof of



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 Claim filed that is contrary to how such Claim was scheduled may be subject to a claims

 objection pursuant to Article VII of the Plan unless otherwise expressly allowed in priority and

 amount in the Plan or this Confirmation Order.

        33.     Payment of Statutory Fees. All fees payable pursuant to section 1930 of title 28

 of the United States Code shall be paid on the Effective Date and thereafter as may be required

        34.     Reversal/Stay/Modification/Vacatur of Confirmation Order. Except as otherwise

 provided in this Confirmation Order or in the Plan, if any or all of the provisions of this

 Confirmation Order are hereafter reversed, modified, vacated, or stayed by subsequent order of

 this Court, or any other court of competent jurisdiction, such reversal, stay, modification, or

 vacatur shall not affect the validity or enforceability of any act, obligation, indebtedness,

 liability, priority, or Lien incurred or undertaken by the Debtors, the Reorganized Debtors, or any

 other party authorized or required to take any action in connection with the Plan, as applicable,

 prior to the effective date of such reversal, stay, modification, or vacatur. Notwithstanding any

 reversal, stay, modification, or vacatur of this Confirmation Order, any act or obligation incurred

 or undertaken pursuant to, or in reliance on, this Confirmation Order prior to the effective date of

 such reversal, stay, modification, or vacatur shall be governed in all respects by the provisions of

 this Confirmation Order, the Plan, the Plan Supplement, or any amendments or modifications to

 the foregoing. The foregoing notwithstanding, if, after the Effective Date, this Order is vacated

 or reversed and, at the time this Order is vacated or reversed, the Series 2020 Bonds are in effect,

 then as applicable: (a) the vacatur or reversal of this Order shall not adversely affect the validity

 or priority of any obligations incurred by the Reorganized Debtors arising in connection with the

 Series 2020 Bonds or any liens, guaranties or claims granted the trustee or holders with respect

 to the Series 2020 Bonds; (b); the terms and conditions of the 2020 Bond Documents, as in effect



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 at the time of the vacatur or reversal of this Order, shall be binding on the Reorganized Debtors,

 and the trustee or holders with respect to the Series 2020 Bonds shall enjoy the same priority of

 liens, claims and rights granted to them under Series 2020 Bonds and related instruments and

 documents; or (c) any liens, guaranties or claims granted to the trustee or holders with respect to

 the Series 2020 Bonds shall be deemed to have been granted by, and shall become the

 obligations of, the predecessors in interest of the Reorganized Debtors. For the avoidance of

 doubt, if the Effective Date of the Plan does not occur as a result of any or all of the provisions of

 this Confirmation Order being reversed, modified, vacated, or stayed by subsequent order of this

 Court, or any other court of competent jurisdiction, all rights of the Debtors, the Creditors

 Committee (including the right to continue the Challenge Litigation and object to any motion

 filed by the Bond Trustee for allowance of claims under Bankruptcy Rule 3018(a)) and the Bond

 Trustee (including the right to make an 1111(b) election) shall be preserved.

        35.     Retention of Jurisdiction. Notwithstanding the entry of this Confirmation Order

 or the occurrence of the Effective Date, pursuant to Article XI of the Plan and sections 105 and

 1142 of the Bankruptcy Code, this Court shall retain exclusive jurisdiction over all matters

 arising in, arising under, and related to the Chapter 11 Cases to the fullest extent as is legally

 permissible, including, but not limited to, jurisdiction over the matters set forth in Article XI of

 the Plan. The foregoing notwithstanding, the Bankruptcy Court’s retention of jurisdiction shall

 not govern the enforcement of the Series 2020 Bonds or any documents or instruments executed

 and delivered in connection therewith or any liens, rights, claims or remedies related thereto after

 the Effective Date, but instead, such enforcement shall be governed as set forth in the Series

 2020 Bonds and 2020 Bond Documents.




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        36.     Discharge. Pursuant to section 1141(d) of the Bankruptcy Code, and except as

 otherwise specifically provided in this Confirmation Order, the Plan or in any contract, instrument,

 or other agreement or document created pursuant to the Plan, the distributions, rights, and

 treatment that are provided in the Plan shall be in complete satisfaction, discharge, and release,

 effective as of the Effective Date, of Claims (not including any Debtor Intercompany Claims or

 non-Debtor Intercompany Claims) and Causes of Action of any nature whatsoever, including any

 interest accrued on Claims from and after the Petition Date, whether known or unknown, against,

 liabilities of, Liens on, obligations of, rights against the Debtors or any of their assets or

 properties, regardless of whether any property shall have been distributed or retained pursuant to

 the Plan on account of such Claims, including demands, liabilities, and Causes of Action that

 arose before the Effective Date, any liability (including withdrawal liability) to the extent such

 Claims relate to the loss of tax-exemption of any portion of the Series 2008 Bonds that arise as a

 result of the Plan or after the Effective Date for periods prior to the Effective Date, or relate to

 services performed by employees of the Debtors prior to the Effective Date and that arise from a

 termination of employment, benefit, or pension plan, any contingent or non-contingent liability

 on account of representations or warranties issued on or before the Effective Date, and all debts

 of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case

 whether or not: (1) a Proof of Claim based upon such debt or right is filed or deemed filed

 pursuant to section 501 of the Bankruptcy Code; (2) a Claim based upon such debt, or right is

 Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the Holder of such a Claim has

 accepted the Plan or voted to reject the Plan.




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        37.     Post-Confirmation Modifications. Subject to certain restrictions and requirements

 set forth in section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those

 restrictions on modifications set forth in the Plan, the Debtors may alter, amend, or modify

 materially the Plan, one or more times, after Confirmation, and, to the extent necessary, may

 initiate proceedings in the Court to so alter, amend, or modify the Plan, or remedy any defect or

 omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or this

 Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of

 the Plan. Notwithstanding the foregoing, (i) no such alteration, amendment or modification of the

 Plan shall negatively affect the terms of creditor treatment under the Global 9019 Settlement,

 including with respect to the GUC Distribution, or alter the claims objection process set forth in

 Article VII(A)(2), without the prior written consent of the Creditors Committee, and (ii) no

 provision of the Plan relating to the Series 2008 Bonds may be altered without the prior written

 consent of the Bond Trustee.

        38.     Provisions of Plan and Confirmation Order Nonseverable and Mutually

 Dependent. The provisions of the Plan and this Confirmation Order, including the findings of

 fact and conclusions of law set forth herein, are nonseverable and mutually dependent.

        39.     Validity and Enforceability. This Confirmation Order shall constitute a judicial

 determination that each term and provision of the Plan is valid and enforceable pursuant to its

 terms. Should any provision in the Plan be determined by the Court or any appellate court to be

 unenforceable following the Effective Date, such determination shall in no way limit the

 enforceability and operative effect of any and all other provisions of the Plan. The failure to

 reference or discuss any particular provision of the Plan in this Confirmation Order shall have no

 effect on the validity, binding effect or enforceability of such provision and such provision shall



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 have the same validity, binding effect and enforceability as every other provision of the Plan.

        40.     Governing Law. Except to the extent that the Bankruptcy Code or other federal

 law is applicable, or to the extent an exhibit to the Plan or Plan Supplement provides otherwise,

 the rights, duties, and obligations arising under the Plan shall be governed by, and construed and

 enforced in accordance with, the laws of the State of West Virginia, without giving effect to the

 principles of conflict of laws thereof.

        41.     Applicable Nonbankruptcy Law. Pursuant to section 1123(a) and 1142(a) of the

 Bankruptcy Code, the provisions of this Confirmation Order, the Plan and related documents or

 any amendments or modifications thereto shall apply and be enforceable notwithstanding any

 otherwise applicable nonbankruptcy law.

        42.     Documents and Instruments. Each federal, state, commonwealth, local, foreign,

 or other governmental agency is hereby authorized to accept any and all documents and

 instruments necessary or appropriate to effectuate, implement or consummate the transactions

 contemplated by the Plan and this Confirmation Order.

        43.     Governmental Approvals Not Required. This Confirmation Order shall constitute

 all approvals and consents required, if any, by the laws, rules, or regulations of any state or other

 governmental authority with respect to the implementation or consummation of the Plan and

 Disclosure Statement, any documents, instruments, or agreements, and any amendments or

 modifications thereto, and any other acts referred to in, or contemplated by, the Plan and the

 Disclosure Statement.

        44.     Notice of Confirmation Order and Occurrence of Effective Date. In accordance

 with Bankruptcy Rules 2002 and 3020(c), within five (5) Business Days after the Effective Date,

 the Debtors shall serve notice of the entry of this Confirmation Order and the occurrence of the



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 Effective Date to all parties who hold a Claim in these cases, including the United States Trustee.

 Such notice is hereby approved in all respects and shall be deemed good and sufficient notice of

 entry of this Confirmation Order and the occurrence of the Effective Date.

        45.      Future Notices. Except as otherwise may be provided in the Plan or herein, notice

 of all subsequent pleadings in the Chapter 11 Cases after the Effective Date shall be limited to

 the following parties: (a) the Reorganized Debtors and their counsel, (b) the United States

 Trustee, (c) the Creditors Committee and its counsel; and (d) any party known to be directly

 affected by the relief sought.

        46.      Substantial Consummation. On the Effective Date, the Plan shall be deemed to be

 substantially consummated under sections 1101 and 1127 of the Bankruptcy Code.

        47.      Waiver of Stay. The stay of this Confirmation Order provided by any Bankruptcy

 Rule (including, without limitation, Bankruptcy Rules 3020(e), 6004(h), and 6006(d)), whether

 for fourteen (14) days or otherwise, is hereby waived, and this Confirmation Order shall be

 effective and enforceable immediately upon its entry by the Court.

        48.      Inconsistency. To the extent of any inconsistency between this Confirmation

 Order and the Plan or any settlement or stipulation referenced therein, this Confirmation Order

 shall govern.

        49.      No Waiver. The failure to specifically include any particular provision of the

 Plan in this Confirmation Order shall not diminish the effectiveness of such provision nor

 constitute a waiver thereof, it being the intent of this Court that the Plan is confirmed in its

 entirety and incorporated herein by this reference.




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        50.     GUC Distribution. As more fully set forth in Article III(D)(5) of the Plan, as part

 of the Global 9019 Settlement, the Bond Trustee shall receive $1.00 from the GUC Distribution

 on account of all Allowed Bond Deficiency Claims in full and final settlement of all such

 Allowed Bond Deficiency Claims, with the remaining $7,000,000 of the GUC Distribution

 available exclusively for distribution to the Holders of Allowed Non-Deficiency General

 Unsecured Claims.     On or before the Effective Date, the Debtors shall deposit the GUC

 Distribution into the Segregated GUC Account, free and clear of any Liens, claims or

 encumbrances. Notwithstanding anything contained in this Confirmation Order, the Plan, or any

 agreement executed in connection therewith, (i) at no point shall any Liens, claims or

 encumbrances attach to the Segregated GUC Account or the GUC Distribution therein, the GUC

 Distribution shall not be distributed to any Person or entity for any purpose other than in

 accordance with Article III(D)(5) of the Plan, and (iii) no settlement or stipulation entered into

 prior to the Effective Date between the Debtors and any Holder of a Tort Claim shall permit the

 Debtors to make any payments to Holders of Tort Claims out of the GUC Distribution without

 the prior written consent of the Creditors Committee.

        51.     Exemption from Certain Taxes. Pursuant to section 1146(a) of the Bankruptcy

 Code, the following will not be subject to any document recording tax, stamp tax, conveyance

 fee, intangibles or similar tax, sales or use tax, mortgage tax, real estate transfer tax, mortgage

 recording tax, or other similar tax or governmental assessment, and this Confirmation Order shall

 direct the appropriate state or local governmental officials or agents to forego the collection of

 any such tax or governmental assessment and to accept for filing and recordation any of the

 foregoing instruments or other documents without the payment of any such tax or governmental

 assessment: (a) the issuance of the Series 2020 Bonds; (b) the creation of any mortgage, deed of



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 trust, lien or other security interest under or pursuant to this Plan or in connection with the

 issuance of the 2020 Bonds; (c) the making or assignment of any lease or sublease under or

 pursuant to the Plan; (d) the execution and delivery of the 2020 Bonds and all instruments and

 documents delivered or recorded in connection therewith; (e) any restructuring transaction; or

 (f) the making or delivery of any deed or other instrument of transfer under, in furtherance of or

 in connection with this Plan, including any merger agreements, agreements of consolidation,

 restructuring, disposition, liquidation or dissolution, deeds, bills of sale or assignments executed

 in connection with any of the foregoing or pursuant to the Plan.

       52.      PBGC Settlement. As more fully set forth in Article IV(U)(1) of the Plan and the

Settlement Agreement by and among the Debtors and PBGC (I) Fixing the Amount of the

Pension Benefit Guaranty Corporation’s Claims and (II) Providing for Termination of Debtors’

Pension Plan [Dkt. No. 904] (the “PBGC Settlement”), the settlement between the Debtors and

the PBGC is approved. The PBGC shall initiate an involuntary termination of the TMH Pension

Plan under section 4042 of ERISA with a termination date of August 31, 2020. Subject to the

involuntary termination of the TMH Pension Plan, the PBGC shall have the following Allowed

Claims: (i) An Allowed Administrative Claim in the amount of $175,000, which shall be paid by

the Reorganized Debtors on the latter of thirty (30) days following: the involuntary termination of

the TMH Pension Plan or the Plan Effective Date; and (ii) an Allowed Non Deficiency General

Unsecured Claim of $74,000,000, which shall be paid in accordance with the Plan as an allowed

Class 5 Claim. The Reorganized Debtors (who are jointly and severally liable) shall pay to the

PBGC the termination premiums of the TMH Pension Plan, as provided in 29 U.S.C. § 1306(a)(7)

in the aggregate amount of $5,640,000 (“Termination Premiums”) in three (3) equal installments

of $1,880,000. For the avoidance of doubt, the Termination Premiums shall not be paid from the



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GUC Distribution. The first payment of $1,880,000 will be due thirty (30) days following the

first twelve-month period after the termination date of the TMH Pension Plan (the “Initial

Termination Premium Due Date”). The second payment of $1,880,000 shall be due twelve

months after the Initial Termination Premium Due Date. The third payment of $1,880,000 shall be

due twenty four months after the Initial Termination Premium Due Date. For the avoidance of

doubt, the Termination Premiums are not a dischargeable claim or debt. All other Claims asserted

by the PBGC shall be withdrawn. Subject to Article VIII of the Plan, no other party shall be

responsible for payment of the Allowed Claims of the PBGC or Termination Premiums owed to

PBGC.

        53.      Tort Resolutions.

              a. TCG/Caldwells Stipulation. As more fully set forth in the Stipulation [Dkt. No.

                 [905] (the “TCG/Caldwells Stipulation”), which is incorporated herein by

                 reference as if set forth at length, the agreements by and between the Debtors, the

                 Tort Claimant Group and the Caldwells (each as defined in the TCG/Caldwells

                 Stipulation), are approved and to the extent applicable shall be paid in accordance

                 with the Plan. No post-confirmation modification referenced in paragraph 37

                 above shall be effective to modify the settlements set forth in the TCG/Caldwells

                 Stipulation, without express consent of the Tort Claimant Group and/or the

                 Caldwells.

                     i. The Caldwells, as defined in the TCG/Caldwells Stipulation, hold Claims
                        against the Debtor that are covered under Professional Security Insurance
                        Company policy HUL 350075, along with any other applicable Insurance
                        Policies (the “Policy”). The Policy expressly states that “Your bankruptcy
                        or insolvency shall not relieve us of our obligations under this policy.”
                        See policy HUL 350075 p. 1 of 2. The Policy also provides that “If the
                        underlying insurance or any renewals or replacements thereof: . . . (d) are
                        unavailable or uncollectible due to your or any insurer’s bankruptcy,


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                      insolvency, or liquidation . . then this policy will still apply in the same
                      manner as if the underlying insurance or other insurance contained the
                      original, less restrictive provisions, was still in full force and effect and
                      was fully collectible. Id. at p. 3 of 11. This Court holds that that an
                      insured's failure to pay a self-insured retention due to bankruptcy or
                      insolvency does not relieve the insurer of its contractual duties under the
                      policy. See Sturgill v. Beach at Mason Limited Partnership, 2015 U.S. Dist.
                      LEXIS 142490, *5, 2015 WL 6163787 (S.D. Oh. 2015) (collecting cases). It is
                      accordingly ORDERED that, based upon the express language in the
                      Policy and the authority existing in relation to this issue, that nonpayment
                      of the self-insured retention under the Policy is not a defense to coverage
                      under the Policy, and that the insurer is obligated to provide the same
                      coverage for and defense of the Caldwells’ Claims as if the self-insured
                      retention had been paid in full.

                 ii. This decretal paragraph 53 of this Confirmation Order and the
                     TCG/Caldwells Stipulation include the entirety of rights the Caldwells’
                     have against the Debtors, their Estates, and the Reorganized Debtors
                     (including against the Segregated GUC Account and the GUC Distribution
                     therein) and except as expressly set forth in this Confirmation Order or the
                     TCG/Caldwells Stipulation, the Caldwells shall have no further rights
                     against the Debtors, their Estates, and the Reorganized Debtors (including
                     against the Segregated GUC Account and the GUC Distribution therein)
                     irrespective of the outcome of any action the Caldwells bring against any
                     insurer or that relates in any way to the Policy or the coverage thereunder.

                iii. This Court retains jurisdiction over any dispute involving the impact of
                     non-payment of a self-insured retention under the Policy, being property
                     of the Debtors’ estates, as a result of the Debtors’ Chapter 11 Cases.

                iv.   For the avoidance of doubt, any payment by the Debtors to any party
                      under the terms of the TCG/Caldwells Stipulation, including any payment
                      in the Tort Claimant Group and the Caldwells, shall not be made from the
                      GUC Distribution.

          b. Bsharah Stipulation. As more fully set forth in the Stipulation Resolving Allowed

             Tort Claim of Diana Bsharah [Dkt. No. 903] (the “Bsharah Stipulation”), which

             is incorporated by reference as if set forth at length, the agreements by and

             between the Debtors and Diana Bsharah, are approved. For the avoidance of

             doubt, the Bsharah Stipulation does not involve payments from the GUC

             Distribution.


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       54.    Cure Dispute Resolutions. RESERVED

       55.    Other Resolutions.

         a.   Summit Community Bank Objection.              Summit Community Bank, Inc.

              (“Summit”) filed a protective objection to the Plan [Dkt. No. 887] (“Objection”).

              Summit made a loan to Donnally Street Partners, LLC (“Donnally Street”), as

              evidenced by that certain note dated August 28, 2009 (as subsequently amended

              and modified, the “Loan”). Repayment of the Loan is secured by a leasehold

              deed of trust lien (“Lien”) on a lease between Donnally Street and Charleston

              Hospital, Inc. (the “Lease”). The Debtors have filed a motion to assume the

              Lease as well as other leases on which Summit holds a deed of trust lien to secure

              obligations of TMH Services, Inc. to Summit [Dkt. No. 880].         Accordingly,

              notwithstanding the provisions of the Plan, the Plan Supplement, and/or this

              Confirmation Order, the Lien shall not be released, terminated, extinguished or

              otherwise affected by the Plan, the Plan Supplement or Confirmation. Donnally

              Street’s liability to Summit under the Loan shall not be discharged, released,

              exculpated, terminated or modified in any manner by the Plan, the Plan

              Supplement and/or Confirmation, and Donnally Street shall remain liable to

              Summit on the Loan in accordance with the terms of the Loan.

         b.   In addition, with respect to the Claims of Summit against Debtor TMH Services,

              Inc., for avoidance of doubt, those Claims shall be treated as Class 2 Claims

              (“Other Secured Claims”) and Debtor TMH Services, Inc. shall continue payment

              of its monthly loan obligations due to Summit pursuant to its pre-existing loan

              documents.



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